Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 1 of 10 Page ID
                                 #:2890




                        EXHIBIT "2"
      Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 2 of 10 Page ID
                                       #:2891

Haley Aanestad

From:                               Vince Finaldi
Sent:                               Monday, September 27, 2021 11:16 AM
To:                                 scott@lawbylg.com
Cc:                                 steven@lawbylg.com; Alex Cunny; Courtney Pendry; Kathy Frederiksen; Haley Aanestad
Subject:                            RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim


Scott and Steven,

We just heard that Janet Fields is available on 10/4. Does that date work for you?

Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Avenue, Suite 800
Irvine, California 92612
Phone: (949) 252-9990
Direct: (949) 943-8423
Fax: (949) 252-9991
vfinaldi@manlystewart.com




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From: Vince Finaldi <vfinaldi@manlystewart.com>
Sent: Friday, September 24, 2021 3:46 PM
To: scott@lawbylg.com
Cc: steven@lawbylg.com; Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>;
Kathy Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
Subject: Re: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

I found mediators and also gave you dates. I am not going to go to some bozo mediator just because they happen to be
available. If your client does not want to mediate, that’s fine…just tell the judge. Otherwise I suggest you select one of
the dates we offered.

Vince William Finaldi, Esq.
MANLY, STEWART & FINALDI
19100 Von Karman Ave. Ste. 800
Irvine, CA 92612
P (949) 252-9990
F (949) 252-9991
vfinaldi@manlystewart.com


        On Sep 24, 2021, at 3:42 PM, scott@lawbylg.com wrote:

                                                               1
Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 3 of 10 Page ID
                                 #:2892

 Vince, we would like to do the mediation the week of October 4. The week of, and the week after,
 October 11 do not work for our client. I am sure there is a suitable mediator available the week of
 October 4 if we try hard enough. Please let us know if you have suggestions, and we will think of people
 as well. Thank you for your understanding and flexibility in advance.

 Scott Lesowitz
 Lesowitz Gebelin LLP
 8383 Wilshire Boulevard, Suite 800
 Beverly Hills, California 90211
 310-341-3076

 From: steven@lawbylg.com <steven@lawbylg.com>
 Sent: Thursday, September 23, 2021 7:15 PM
 To: 'Vince Finaldi' <vfinaldi@manlystewart.com>; scott@lawbylg.com
 Cc: 'Alex Cunny' <acunny@manlystewart.com>; 'Courtney Pendry' <cpendry@manlystewart.com>;
 'Kathy Frederiksen' <kfrederiksen@manlystewart.com>; 'Haley Aanestad'
 <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Vince,

 We’re checking with our client to confirm his availability on the dates you provided. We will get back to
 you to as soon as we are able.

 Steven Gebelin
 steven@lawbylg.com
 Lesowitz Gebelin LLP
 310-341-3072


 From: Vince Finaldi <vfinaldi@manlystewart.com>
 Sent: Thursday, September 23, 2021 3:57 PM
 To: scott@lawbylg.com; steven@lawbylg.com
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Also, just heard from Judge Casserly’s case manager. She says he can make himself available this
 Monday, September 27.

 Let me know.

 Vince William Finaldi, Esq.
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800
 Irvine, California 92612
 Phone: (949) 252-9990
 Direct: (949) 943-8423
 Fax: (949) 252-9991
 vfinaldi@manlystewart.com
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 From: Vince Finaldi
 Sent: Thursday, September 23, 2021 3:17 PM
 To: 'scott@lawbylg.com' <scott@lawbylg.com>; steven@lawbylg.com
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Alright, Kim Deck’s case manager says the following:

 She has September 29, starting at 1:30, and Oct 11.

 Do either of these work???

 Vince William Finaldi, Esq.
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800
 Irvine, California 92612
 Phone: (949) 252-9990
 Direct: (949) 943-8423
 Fax: (949) 252-9991
 vfinaldi@manlystewart.com
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 From: scott@lawbylg.com <scott@lawbylg.com>
 Sent: Thursday, September 23, 2021 3:05 PM
 To: Vince Finaldi <vfinaldi@manlystewart.com>; steven@lawbylg.com
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Vince, I believe it was said on our group call this morning that our mediation deadline is October 11.
 While October 15 is not that far after October 11, there are many mediators in the Los Angeles area.
 Why don’t we use someone who will be available by the current deadline?

 Best regards,
 Scott

 Scott Lesowitz
 Lesowitz Gebelin LLP
                                                       3
Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 5 of 10 Page ID
                                 #:2894
 8383 Wilshire Boulevard, Suite 800
 Beverly Hills, California 90211
 310-341-3076

 From: Vince Finaldi <vfinaldi@manlystewart.com>
 Sent: Thursday, September 23, 2021 2:31 PM
 To: steven@lawbylg.com; scott@lawbylg.com
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Sorry, I typed too fast. Not deposition…I meant mediation.

 Vince William Finaldi, Esq.
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800
 Irvine, California 92612
 Phone: (949) 252-9990
 Direct: (949) 943-8423
 Fax: (949) 252-9991
 vfinaldi@manlystewart.com
 <image001.jpg>

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 From: Vince Finaldi
 Sent: Thursday, September 23, 2021 2:14 PM
 To: 'steven@lawbylg.com' <steven@lawbylg.com>; 'scott@lawbylg.com' <scott@lawbylg.com>
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Scott and Steven,

 Judge Casserly’s case manager says he is available for deposition on October 15, 2021. Does that date
 work for you?

 Please advise asap because his calendar is quite full.

 Thanks,

 Vince William Finaldi, Esq.
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800
 Irvine, California 92612
 Phone: (949) 252-9990
 Direct: (949) 943-8423
 Fax: (949) 252-9991
 vfinaldi@manlystewart.com

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                                 #:2895
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 From: Vince Finaldi
 Sent: Thursday, September 23, 2021 1:21 PM
 To: 'steven@lawbylg.com' <steven@lawbylg.com>; scott@lawbylg.com
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Scott,

 Thanks for the email.

 Business Records:
 Confirmed as to 1, 2. How about 30 days to get this information to you, with Verifications? As to 3,
 please see the attached proposed Stipulation and Proposed Order.

 Phone Records:
 Here is a proposed resolution: if we agree to give you phone records of our client, unredacted but under
 the protective order, for a given date range, will you reciprocate and agree to provide us the same for
 yours? This seems inherently fair and reasonable. Let me know.

 Mediation:
 I reached out for dates and will let you know when I hear back.

 Vince William Finaldi, Esq.
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800
 Irvine, California 92612
 Phone: (949) 252-9990
 Direct: (949) 943-8423
 Fax: (949) 252-9991
 vfinaldi@manlystewart.com
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 From: steven@lawbylg.com <steven@lawbylg.com>
 Sent: Thursday, September 23, 2021 12:30 PM
 To: scott@lawbylg.com; Vince Finaldi <vfinaldi@manlystewart.com>
 Cc: Alex Cunny <acunny@manlystewart.com>; Courtney Pendry <cpendry@manlystewart.com>; Kathy
 Frederiksen <kfrederiksen@manlystewart.com>; Haley Aanestad <haanestad@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim
                                                       5
Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 7 of 10 Page ID
                                 #:2896

 Vince,

 Following up on our conversation this morning:

 Concerning the subpoenas to Plaintiff’s businesses:
    1) We agreed that the documents produced will be subject to confidentiality under the protective
        order
    2) We agreed that the subpoenas will be limited to:
            a. Documents sufficient to show Plaintiff’s ownership interest in each business;
            b. Documents sufficient to show the value/net worth of each business, including income,
                 expenses, assets, and liabilities;
            c. Documents sufficient to show Plaintiff’s income from the businesses, payments to the
                 businesses, and any assets or liabilities she has with respect to the businesses apart
                 from ownership (e.g. loans to her from the businesses, assets of hers leased to the
                 businesses)
            d. To the extent that the documents contain private account information of third-parties
                 (e.g. clients of the businesses), the account information will be redacted for now, and
                 we reserve the right to seek such information at a later date.
    3) You agreed to prepare a stipulation concerning Plaintiff’s waiver of claims/damages concerning
        her lost income / lost wages / etc.

 Concerning the phone records subpoena we appear to have made progress, but not yet reached a full
 resolution.
     1) You agreed that concerning the phone and text logs, the full records for the month after the
         incident date (October 31, 2018) should be fair to produce.
     2) You disagreed about whether the full logs in the month surrounding the parties last
         communication (February 18, 2019) would be relevant- I said they would seem to be similarly
         tailored, and you did not agree.
     3) You also disagreed that the logs in the month leading up to Plaintiff’s first demands/claims
         against Puig (mid-June 2019) would be relevant.
     4) I believe you did not see an issue with the production of the invoices (not logs) for the period in
         the subpoena, particularly in light of the issue concerning whether Plaintiff’s phone was
         replaced during that time.

 On the phone records, for the time periods where we’re not in agreement about production of the full
 text / phone logs, would there be any issue with production of the records showing only the
 communications between the parties?

 Best,

 Steven Gebelin
 steven@lawbylg.com
 Lesowitz Gebelin LLP
 310-341-3072


 From: steven@lawbylg.com <steven@lawbylg.com>
 Sent: Wednesday, September 22, 2021 1:17 PM
 To: 'Haley Aanestad' <haanestad@manlystewart.com>; scott@lawbylg.com
 Cc: 'Vince Finaldi' <vfinaldi@manlystewart.com>; 'Alex Cunny' <acunny@manlystewart.com>; 'Courtney
 Pendry' <cpendry@manlystewart.com>; 'Kathy Frederiksen' <kfrederiksen@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim
                                                      6
Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 8 of 10 Page ID
                                 #:2897

 Hi All,

 Zoom details and link below for tomorrow’s meeting:

 Steven Gebelin is inviting you to a scheduled Zoom meeting.

 Topic: Roe v. Puig- M/c re Business Records
 Time: Sep 23, 2021 10:30 AM Pacific Time (US and Canada)

 Join Zoom Meeting
 https://us02web.zoom.us/j/87011134509?pwd=ZXBmQU44T0xTZEI1dGtFWlhONUxZQT09

 Meeting ID: 870 1113 4509
 Passcode: 003303
 One tap mobile
 +16699006833,,87011134509#,,,,*003303# US (San Jose)
 +13462487799,,87011134509#,,,,*003303# US (Houston)

 Dial by your location
      +1 669 900 6833 US (San Jose)
      +1 346 248 7799 US (Houston)
      +1 253 215 8782 US (Tacoma)
      +1 301 715 8592 US (Washington DC)
      +1 312 626 6799 US (Chicago)
      +1 929 205 6099 US (New York)
 Meeting ID: 870 1113 4509
 Passcode: 003303
 Find your local number: https://us02web.zoom.us/u/kdza000i91


 Steven Gebelin
 steven@lawbylg.com
 Lesowitz Gebelin LLP
 310-341-3072


 From: Haley Aanestad <haanestad@manlystewart.com>
 Sent: Wednesday, September 22, 2021 10:39 AM
 To: steven@lawbylg.com; scott@lawbylg.com
 Cc: Vince Finaldi <vfinaldi@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Courtney
 Pendry <cpendry@manlystewart.com>; Kathy Frederiksen <kfrederiksen@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Mr. Gebelin,

 Sounds good, thank you. Please circulate a zoom link at your earliest convenience.

 Best,
 HALEY AANESTAD
 Associate Attorney
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800

                                                    7
Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 9 of 10 Page ID
                                 #:2898
 Irvine, CA 92612
 Phone: (949) 252-9990
 Fax: (949) 252-9991
 haanestad@manlystewart.com

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 Cc: Vince Finaldi <vfinaldi@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Courtney
 Pendry <cpendry@manlystewart.com>
 Subject: RE: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Ms. Aanestad,

 I am available tomorrow at 10:30 am to confer on the business records as suggested by the Court. I can
 send around a Zoom meeting, or you can circulate a dial-in.

 Best,

 Steven Gebelin
 steven@lawbylg.com
 Lesowitz Gebelin LLP
 310-341-3072


 From: Haley Aanestad <haanestad@manlystewart.com>
 Sent: Tuesday, September 21, 2021 10:49 AM
 To: scott@lawbylg.com; steven@lawbylg.com
 Cc: Vince Finaldi <vfinaldi@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Courtney
 Pendry <cpendry@manlystewart.com>
 Subject: Jane Roe v. Yasiel Puig Minute Order Re: Punitive Damages Claim

 Good Morning Mr. Gebelin and Mr. Lesowitz,

 In light of the Court’s Minute Order entitled “MINUTE (IN CHAMBERS) ORDER RE: PUNITIVE DAMAGES
 CLAIM by Magistrate Judge Michael R. Wilner” we invite a discussion regarding discovery into Jane Roe’s
 businesses’ financial records. Please advise if you available to discuss the issue on Thursday, September
 23 at 10:30 a.m.

 HALEY AANESTAD
 Associate Attorney
 MANLY, STEWART & FINALDI
 19100 Von Karman Avenue, Suite 800
 Irvine, CA 92612
 Phone: (949) 252-9990

                                                       8
Case 2:20-cv-11064-FMO-MRW Document 151-2 Filed 10/11/21 Page 10 of 10 Page ID
                                 #:2899
  Fax: (949) 252-9991
  haanestad@manlystewart.com

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